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                                                                 June 5, 2025

    BY CM/ECF
    The Honorable Karen M. Williams, U.S.D.J.
    United States District Court for the District of New Jersey
    Mitchell H. Cohen Building & United States Courthouse
    4th & Cooper Streets
    Camden, New Jersey 08101

              Re:        Theravance Biopharma R&D IP, LLC et al. v.
                         Eugia Pharma Specialities Ltd. et al.
                         Civil Action No. 1:23-00926-KMW-AMD
                         Theravance Biopharma R&D IP, LLC et al. v.
                         Eugia Pharma Specialities Ltd. et al.
                         Civil Action No. 1:25-03790-KMW-AMD

    Dear Judge Williams:

            We represent Plaintiffs in the above matter along with our co-counsel for the Theravance
    Plaintiffs, Womble Bond Dickinson (US) LLP, and co-counsel for the Mylan Plaintiffs, Rakoczy
    Molino Mazzochi Siwik LLP. We write jointly with counsel for Defendants Eugia Pharma
    Specialities Ltd., Eugia US LLC, Aurobindo Pharma USA, Inc., and Aurobindo Pharma Limited
    (collectively “Eugia”), to inform the Court that Plaintiffs and Eugia have reached an amicable
    resolution that resolves all pending claims, counterclaims and defenses between Plaintiffs and
    Eugia in this litigation. Pursuant to that resolution, Plaintiffs and Eugia respectfully request that
    the Court “So Order” the attached Stipulated Consent Judgment and Injunction that will dismiss
    all claims, counterclaims, and affirmative defenses pending between Plaintiffs and Eugia.

           The actions remain pending and will continue against the remaining two defendant
    groups/ANDA-filers (Mankind and Cipla).

           We thank the Court for its consideration and assistance in this matter, and look forward to
    hearing from Your Honor at the Court’s earliest convenience.




                                                           Arnold B. Calmann


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  cc:   Counsel of Record (by CM/ECF)
